                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE
LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, DONNA PERMAR, JOHN P.
CLARK, MARGARET B. CATES, LELIA
BENTLEY, REGINA WHITNEY EDWARDS,
ROBERT K. PRIDDY II, WALTER
HUTCHINS, AND SUSAN SCHAFFER,

                      Plaintiffs,

    v.
                                             Civil Action No. 20-cv-457
THE NORTH CAROLINA STATE BOARD OF
ELECTIONS; DAMON CIRCOSTA, in his
official capacity as CHAIR OF THE
STATE BOARD OF ELECTIONS; STELLA
ANDERSON, in her official capacity
as SECRETARY OF THE STATE BOARD OF
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in his official
capacity as MEMBER OF THE STATE
BOARD OF ELECTIONS; DAVID C. BLACK,
in his official capacity as MEMBER
OF THE STATE BOARD OF ELECTIONS;
KAREN BRINSON BELL, in her official
capacity as EXECUTIVE DIRECTOR OF
THE STATE BOARD OF ELECTIONS; THE
NORTH CAROLINA DEPARTMENT OF
TRANSPORTATION; J. ERIC BOYETTE, in
his official capacity as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,

                      Defendants,



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PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPORE
OF THE NORTH CAROLINA SENATE;
TIMOTHY K. MOORE, in his official
capacity as SPEAKER OF THE NORTH
CAROLINA HOUSE OF REPRESENTATIVES,

               Defendant-Intervenors.


           REPLY DECLARATION OF CHRISTOPHER KETCHIE


    I, Christopher Ketchie, hereby declare:

    1.    All facts set forth herein are based on my

personal knowledge, and if called upon to testify as to the

contents of this Declaration, I could and would do so.

    2.    I am a demographer and data analyst for Southern

Coalition for Social Justice, where I specialize in

research, analysis, and spatial visualization of

demographic and electoral data.

    3.    This is the second declaration I am submitting in

this matter.

    4.    In this matter, I have used public data sets to

isolate certain statistics for reference in the Complaint

and the Brief in Support of Plaintiffs’ Motion for

Preliminary Injunction.

    5.    To determine the number of registrations received

in the last month before the close of books for the 2016

                                   2



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and 2018 North Carolina general elections, I used the

November 8, 2016 and November 6, 2018 Voter Registration

Snapshots, published by the North Carolina State Board of

Elections and available at

https://s3.amazonaws.com/dl.ncsbe.gov/data/Snapshots/VR_Sna

pshot_20161108.zip and

https://s3.amazonaws.com/dl.ncsbe.gov/data/Snapshots/VR_Sna

pshot_20181106.zip. The data files are accessible by going

to https://www.ncsbe.gov/Public-Records-Data-Info/Election-

Results-Data, and navigating to “FTP Site”  “data” 

“Snapshots”  “VR_Snapshot_20161108.zip” and

“VR_Snapshot_20181106.zip”. For 2016, I selected all record

with “registr_dt” values ranging from 9/14/2016 to

10/14/2016 that did not have “DENIED” or “REMOVED” in the

“voter_status_desc” field. The results for 2016 can be

found in Exhibit 1. Similarly, for 2018, I selected all

records with “registr_dt” values ranging from 9/12/2018 to

10/12/2018 that did not have “DENIED” or “REMOVED” in the

“voter_status_desc” field. The results for 2018 can be

found in Exhibit 2.

    6.    To determine the number of Same Day Registrations

(SDR) during the early voting periods of the 2016 and 2018

                                   3



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North Carolina general elections, I used the November 8,

2016 and November 6, 2018 Absentee Files, published by the

North Carolina State Board of Elections and available at

https://s3.amazonaws.com/dl.ncsbe.gov/ENRS/2016_11_08/absen

tee_20161108_w_ethnicity.zip and

https://s3.amazonaws.com/dl.ncsbe.gov/ENRS/2018_11_06/absen

tee_20181106_w_ethnicity.zip. The data files are accessible

by going to https://www.ncsbe.gov/Public-Records-Data-

Info/Election-Results-Data, and navigating to “FTP Site” 

“ENRS”  “2016_11_08” 

“absentee_20161108_w_ethnicity.zip” and “2018_11_06” 

“absentee_20181106_w_ethnicity.zip”. For both 2016 and

2018, I selected all records with “sdr” values of “Y”,

“ballot_req_type” values of “ONE-STOP”, and removed records

with duplicate “ncid” values. The results of this analysis

show that 100,262 individuals took advantage of SDR during

the early voting period in 2016, and 45,532 individuals

took advantage of SDR during the early voting period in

2018.

    7.    To determine the percentage breakdown of the

reasons for absentee mail-in ballots rejected for the March

2020 North Carolina primary, I used data from the March 3,

                                   4



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2020 Absentee File, published by the North Carolina State

Board of Elections and available at

https://s3.amazonaws.com/dl.ncsbe.gov/ENRS/2020_03_03/absen

tee_20200303.zip. This data file is accessible by going to

https://www.ncsbe.gov/Public-Records-Data-Info/Election-

Results-Data and navigating to “FTP Site”  “ENRS” 

“2020_03_03”  “absentee_20200303.zip”. I aggregated

absentee mail-in ballots by the “ballot_rtn_status” field

and divided the total number for each specific ballot

rejection reason by the total number of all rejected

ballots. These data show at least 41% (1,843) of all

rejected mail-in ballots were rejected due to non-

compliance with form requirements (not properly notarized,

signature different, voter signature missing, and witness

info incomplete). However, depending on the interpretation

of what a “spoiled” mail-in ballot is, the percentage could

be as high as 78% if spoiled ballots (1,705) are included.

The full results can be found in Exhibit 3.

    8.    To determine the number of registered voters

ineligible to use the Online Voter Registration (OVR)

system, I used the most recent DMV ID “No Match” List,

published September 25, 2019, by the North Carolina State

                                   5



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Board of Elections and available at

https://s3.amazonaws.com/dl.ncsbe.gov/Requests/ID_no_match_

public_09252019.xlsx. The data file is accessible by going

to https://www.ncsbe.gov/Public-Records-Data-Info/Election-

Results-Data, and navigating to “FTP Site”  “Requests” 

“ID_no_match_public_09252019.xlsx”. Of the 617,029

registered voters included in this list, 348,838 did not

match with any record of having a DMV issued ID. The

remaining 268,191 registered voters matched with a record

of having a DMV issued ID, however these IDs were expired.

Given the limited amount of data contained in this “no

match” file, I do not know how many of these registered

voters with expired IDs are more than 2 years expired,

requiring them to renew in-person at a DMV office.

Additionally, I am unaware if not being able to renew

online precludes them from using OVR. Therefore, at least

348,838 registered voters are ineligible to use OVR, but

this number could be as high as 617,029.

    9.    To determine the number and percentage of single-

person households for each county in North Carolina, I used

the S2501 Occupancy Characteristics Table from the 2018 ACS

5-year Estimates Dataset, published by the United States

                                   6



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Census Bureau and available at

https://data.census.gov/cedsci/table?g=0400000US37.050000&t

id=ACSST5Y2018.S2501&text=S2501&vintage=2018&hidePreview=fa

lse&layer=VT_2018_050_00_PY_D1&cid=S2501_C01_001E, and the

results can be found in Exhibit 4.

    10. To determine the age distribution of single-person

households for each county in North Carolina, I used the

same dataset from paragraph 9, and the results can be found

in Exhibit 5.

    I declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and

correct to the best of my knowledge.


                Executed this 1st day of July, 2020




                /s/
                Christopher Ketchie




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                         Exhibit 1




                 Date                 Registrations
                 September 14, 2016           5,254
                 September 15, 2016           4,697
                 September 16, 2016           4,667
                 September 17, 2016             960
                 September 18, 2016             403
                 September 19, 2016           6,377
                 September 20, 2016           3,999
                 September 21, 2016           3,837
                 September 22, 2016           4,910
                 September 23, 2016           5,236
                 September 24, 2016             963
                 September 25, 2016             660
                 September 26, 2016           5,758
                 September 27, 2016           7,213
                 September 28, 2016           5,419
                 September 29, 2016           5,622
                 September 30, 2016           6,156
                 October 1, 2016              1,997
                 October 2, 2016                548
                 October 3, 2016              7,668
                 October 4, 2016              7,714
                 October 5, 2016              9,229
                 October 6, 2016              6,793
                 October 7, 2016              7,608
                 October 8, 2016              1,892
                 October 9, 2016                819
                 October 10, 2016             9,252
                 October 11, 2016            11,371
                 October 12, 2016            10,386
                 October 13, 2016            13,921
                 October 14, 2016            45,672
                 Grand Total                207,001




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                         Exhibit 2




                 Date                 Registrations
                 September 12, 2018           2,164
                 September 13, 2018           1,742
                 September 14, 2018             866
                 September 15, 2018             150
                 September 16, 2018             132
                 September 17, 2018           1,818
                 September 18, 2018           2,389
                 September 19, 2018           2,070
                 September 20, 2018           1,971
                 September 21, 2018           2,362
                 September 22, 2018             351
                 September 23, 2018             119
                 September 24, 2018           3,343
                 September 25, 2018           3,179
                 September 26, 2018           3,772
                 September 27, 2018           3,098
                 September 28, 2018           3,504
                 September 29, 2018             581
                 September 30, 2018             304
                 October 1, 2018              4,819
                 October 2, 2018              3,416
                 October 3, 2018              3,757
                 October 4, 2018              4,614
                 October 5, 2018              4,019
                 October 6, 2018                746
                 October 7, 2018                230
                 October 8, 2018              4,489
                 October 9, 2018              5,785
                 October 10, 2018             5,682
                 October 11, 2018             6,196
                 October 12, 2018            21,500
                 Grand Total                 99,168




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                                Exhibit 3




               March 3, 2020 Primary Absentee Mail-In Rejected Ballots
 Ballot Return Status (Rejected)     # of Rejected Ballots   % of Rejected Ballots
 DUPLICATE                                                 6                 0.13%
 E-TRANSMISSION FAILURE                                    1                 0.02%
 NOT PROPERLY NOTARIZED                                  13                  0.29%
 PENDING                                                 13                  0.29%
 RETURNED AFTER DEADLINE                                800                 17.64%
 RETURNED UNDELIVERABLE                                 166                  3.66%
 SIGNATURE DIFFERENT                                     25                  0.55%
 SPOILED                                             1,705                  37.60%
 VOTER SIGNATURE MISSING                             1,543                  34.03%
 WITNESS INFO INCOMPLETE                                262                  5.78%
 TOTAL                                               4,534                100.00%




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                                          Exhibit 4
County                  Occupied Housing Units    Householder Living Alone     Householder Living Alone %
Warren                                    7,780                        2,905                        37.34%
Bertie                                    7,976                        2,953                        37.02%
Washington                                5,073                        1,869                        36.84%
Buncombe                               107,093                        36,526                        34.11%
Polk                                      9,047                        3,038                        33.58%
Durham                                 123,444                        40,853                        33.09%
New Hanover                              93,636                       30,975                        33.08%
Hertford                                  8,899                        2,919                        32.80%
Cumberland                             124,418                        40,405                        32.48%
Anson                                     9,516                        3,089                        32.46%
Forsyth                                146,685                        47,136                        32.13%
Swain                                     5,443                        1,749                        32.13%
Bladen                                   13,968                        4,461                        31.94%
Rutherford                               26,345                        8,362                        31.74%
Pamlico                                   5,352                        1,689                        31.56%
Beaufort                                 19,325                        6,064                        31.38%
Mitchell                                  6,361                        1,992                        31.32%
Columbus                                 22,306                        6,980                        31.29%
Macon                                    15,699                        4,901                        31.22%
Moore                                    38,965                       12,138                        31.15%
Haywood                                  26,336                        8,176                        31.04%
Halifax                                  21,116                        6,539                        30.97%
Tyrrell                                   1,631                          505                        30.96%
Wilson                                   32,128                        9,886                        30.77%
Jackson                                  16,642                        5,112                        30.72%
Richmond                                 18,546                        5,683                        30.64%
Mecklenburg                            403,546                      123,141                         30.51%
Henderson                                48,281                       14,725                        30.50%
Pender                                   21,766                        6,625                        30.44%
Guilford                               202,731                        61,548                        30.36%
Lenoir                                   23,121                        7,004                        30.29%
Chowan                                    5,984                        1,809                        30.23%
Carteret                                 29,690                        8,958                        30.17%
Rockingham                               37,201                       11,220                        30.16%
Jones                                     4,137                        1,237                        29.90%
Sampson                                  23,537                        7,013                        29.80%
Alamance                                 64,059                       19,046                        29.73%
Graham                                    3,288                          977                        29.71%
Nash                                     36,720                       10,872                        29.61%
Pitt                                     69,169                       20,427                        29.53%
Wilkes                                   28,355                        8,340                        29.41%
Clay                                      5,062                        1,478                        29.20%
Vance                                    16,854                        4,911                        29.14%
Scotland                                 13,113                        3,818                        29.12%
Cherokee                                 11,895                        3,439                        28.91%
Northampton                               8,628                        2,490                        28.86%
Robeson                                  45,969                       13,155                        28.62%

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                                         Exhibit 4
County                 Occupied Housing Units    Householder Living Alone     Householder Living Alone %
Surry                                   28,985                        8,287                        28.59%
Burke                                   34,672                        9,901                        28.56%
Cleveland                               36,882                       10,517                        28.52%
Craven                                  40,871                       11,622                        28.44%
North Carolina                       3,918,597                    1,113,548                        28.42%
Watauga                                 20,355                        5,782                        28.41%
Orange                                  52,529                       14,921                        28.41%
Pasquotank                              14,780                        4,172                        28.23%
Edgecombe                               21,371                        6,021                        28.17%
Alleghany                                4,746                        1,335                        28.13%
Dare                                    15,441                        4,311                        27.92%
Yancey                                   7,402                        2,065                        27.90%
Montgomery                              10,411                        2,902                        27.87%
Wayne                                   48,153                       13,399                        27.83%
Stokes                                  19,302                        5,357                        27.75%
Duplin                                  21,781                        6,013                        27.61%
Avery                                    6,587                        1,816                        27.57%
Martin                                   9,471                        2,611                        27.57%
Yadkin                                  15,448                        4,253                        27.53%
Gaston                                  81,494                       22,393                        27.48%
Caldwell                                32,594                        8,838                        27.12%
Person                                  15,744                        4,269                        27.12%
Caswell                                  9,110                        2,462                        27.03%
Madison                                  8,452                        2,283                        27.01%
Gates                                    4,477                        1,208                        26.98%
Rowan                                   52,301                       14,078                        26.92%
Ashe                                    11,805                        3,176                        26.90%
Lee                                     21,744                        5,844                        26.88%
Perquimans                               5,919                        1,590                        26.86%
Randolph                                56,041                       15,042                        26.84%
Chatham                                 28,527                        7,654                        26.83%
Brunswick                               54,226                       14,470                        26.68%
Greene                                   7,259                        1,921                        26.46%
Alexander                               13,722                        3,589                        26.16%
Catawba                                 61,099                       15,790                        25.84%
Wake                                   390,498                      100,691                        25.79%
Stanly                                  23,717                        6,046                        25.49%
Transylvania                            14,123                        3,596                        25.46%
Davidson                                65,471                       16,322                        24.93%
Granville                               21,030                        5,157                        24.52%
Harnett                                 45,086                       11,021                        24.44%
Hoke                                    17,722                        4,324                        24.40%
McDowell                                17,961                        4,342                        24.17%
Franklin                                24,749                        5,916                        23.90%
Davie                                   15,999                        3,816                        23.85%
Iredell                                 65,246                       15,223                        23.33%
Onslow                                  64,065                       14,755                        23.03%

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                                        Exhibit 4
County                Occupied Housing Units    Householder Living Alone     Householder Living Alone %
Cabarrus                               72,299                       16,364                        22.63%
Johnston                               67,154                       14,769                        21.99%
Lincoln                                32,022                        6,762                        21.12%
Currituck                              10,148                        2,000                        19.71%
Hyde                                    1,769                          316                        17.86%
Union                                  75,165                       12,464                        16.58%
Camden                                  3,836                          634                        16.53%




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                                                  Exhibit 5
                               Householder    Householder Householder Householder       Householder      Householder
                Householder
County                         Living Alone   Living Alone Living Alone Living Alone    Living Alone     Living Alone
                Living Alone
                                (15 to 34)     (35 to 64)  (65 and over) (15 to 34) %   (35 to 64) %   (65 and over) %
Hyde                     316              0            130          186         0.00%        41.14%             58.86%
Mitchell               1,992            215            645        1,132        10.79%        32.38%             56.83%
Davie                  3,816            218          1,442        2,156         5.71%        37.79%             56.50%
Macon                  4,901            545          1,595        2,761        11.12%        32.54%             56.34%
Camden                   634             37            243          354         5.84%        38.33%             55.84%
Chowan                 1,809            184            626          999        10.17%        34.60%             55.22%
Chatham                7,654            618          2,893        4,143         8.07%        37.80%             54.13%
Madison                2,283            195            876        1,212         8.54%        38.37%             53.09%
Cherokee               3,439            189          1,434        1,816         5.50%        41.70%             52.81%
Transylvania           3,596            472          1,228        1,896        13.13%        34.15%             52.73%
Martin                 2,611             84          1,167        1,360         3.22%        44.70%             52.09%
Duplin                 6,013            447          2,436        3,130         7.43%        40.51%             52.05%
Tyrrell                  505             20            224          261         3.96%        44.36%             51.68%
Lenoir                 7,004            364          3,030        3,610         5.20%        43.26%             51.54%
Beaufort               6,064            490          2,466        3,108         8.08%        40.67%             51.25%
Jones                  1,237             48            555          634         3.88%        44.87%             51.25%
Carteret               8,958            725          3,647        4,586         8.09%        40.71%             51.19%
Northampton            2,490            166          1,050        1,274         6.67%        42.17%             51.16%
Bertie                 2,953            145          1,312        1,496         4.91%        44.43%             50.66%
Moore                 12,138          1,202          4,804        6,132         9.90%        39.58%             50.52%
Rutherford             8,362            648          3,490        4,224         7.75%        41.74%             50.51%
Wilkes                 8,340            678          3,473        4,189         8.13%        41.64%             50.23%
Polk                   3,038            221          1,292        1,525         7.27%        42.53%             50.20%
Montgomery             2,902            196          1,252        1,454         6.75%        43.14%             50.10%
Pamlico                1,689            156            688          845         9.24%        40.73%             50.03%
Ashe                   3,176            149          1,445        1,582         4.69%        45.50%             49.81%
Yadkin                 4,253            386          1,786        2,081         9.08%        41.99%             48.93%
Edgecombe              6,021            335          2,754        2,932         5.56%        45.74%             48.70%
Caswell                2,462            210          1,056        1,196         8.53%        42.89%             48.58%
Columbus               6,980            766          2,835        3,379        10.97%        40.62%             48.41%
Haywood                8,176            843          3,385        3,948        10.31%        41.40%             48.29%
Yancey                 2,065            208            860          997        10.07%        41.65%             48.28%
Surry                  8,287            585          3,713        3,989         7.06%        44.81%             48.14%
Warren                 2,905            252          1,258        1,395         8.67%        43.30%             48.02%
Henderson             14,725          1,234          6,427        7,064         8.38%        43.65%             47.97%
Scotland               3,818            258          1,736        1,824         6.76%        45.47%             47.77%
Alexander              3,589            354          1,532        1,703         9.86%        42.69%             47.45%
Halifax                6,539            453          2,991        3,095         6.93%        45.74%             47.33%
Sampson                7,013            449          3,248        3,316         6.40%        46.31%             47.28%
Hertford               2,919            242          1,297        1,380         8.29%        44.43%             47.28%
Rockingham            11,220            637          5,313        5,270         5.68%        47.35%             46.97%
Clay                   1,478            164            621          693        11.10%        42.02%             46.89%
Alleghany              1,335            114            598          623         8.54%        44.79%             46.67%
Stokes                 5,357            347          2,525        2,485         6.48%        47.13%             46.39%


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                                                    Exhibit 5
                                 Householder    Householder Householder Householder       Householder      Householder
                  Householder
County                           Living Alone   Living Alone Living Alone Living Alone    Living Alone     Living Alone
                  Living Alone
                                  (15 to 34)     (35 to 64)  (65 and over) (15 to 34) %   (35 to 64) %   (65 and over) %
Stanly                   6,046            570         2,676         2,800         9.43%        44.26%             46.31%
McDowell                 4,342            448         1,889         2,005        10.32%        43.51%             46.18%
Nash                    10,872            984         4,895         4,993         9.05%        45.02%             45.93%
Burke                    9,901            808         4,557         4,536         8.16%        46.03%             45.81%
Graham                     977             76           455           446         7.78%        46.57%             45.65%
Davidson                16,322          1,411         7,488         7,423         8.64%        45.88%             45.48%
Richmond                 5,683            597         2,544         2,542        10.51%        44.77%             44.73%
Washington               1,869            116           918           835         6.21%        49.12%             44.68%
Avery                    1,816            247           765           804        13.60%        42.13%             44.27%
Jackson                  5,112            903         1,947         2,262        17.66%        38.09%             44.25%
Brunswick               14,470          1,309         6,769         6,392         9.05%        46.78%             44.17%
Anson                    3,089            443         1,285         1,361        14.34%        41.60%             44.06%
Lincoln                  6,762            723         3,060         2,979        10.69%        45.25%             44.06%
Cleveland               10,517            979         4,939         4,599         9.31%        46.96%             43.73%
Gates                    1,208             23           659           526         1.90%        54.55%             43.54%
Randolph                15,042          1,658         6,864         6,520        11.02%        45.63%             43.35%
Person                   4,269            285         2,134         1,850         6.68%        49.99%             43.34%
Wilson                   9,886            927         4,679         4,280         9.38%        47.33%             43.29%
Perquimans               1,590             66           836           688         4.15%        52.58%             43.27%
Greene                   1,921             95           997           829         4.95%        51.90%             43.15%
Caldwell                 8,838            665         4,367         3,806         7.52%        49.41%             43.06%
Bladen                   4,461            446         2,104         1,911        10.00%        47.16%             42.84%
Catawba                 15,790          1,971         7,063         6,756        12.48%        44.73%             42.79%
Alamance                19,046          2,392         8,582         8,072        12.56%        45.06%             42.38%
Vance                    4,911            456         2,374         2,081         9.29%        48.34%             42.37%
Wayne                   13,399          1,565         6,180         5,654        11.68%        46.12%             42.20%
Lee                      5,844            539         2,842         2,463         9.22%        48.63%             42.15%
Union                   12,464            950         6,360         5,154         7.62%        51.03%             41.35%
Rowan                   14,078          1,580         6,680         5,818        11.22%        47.45%             41.33%
Craven                  11,622          1,823         5,001         4,798        15.69%        43.03%             41.28%
Swain                    1,749            227           803           719        12.98%        45.91%             41.11%
Granville                5,157            429         2,611         2,117         8.32%        50.63%             41.05%
Gaston                  22,393          2,563        10,824         9,006        11.45%        48.34%             40.22%
Franklin                 5,916            546         3,004         2,366         9.23%        50.78%             39.99%
Pasquotank               4,172            533         1,988         1,651        12.78%        47.65%             39.57%
Robeson                 13,155          1,207         6,748         5,200         9.18%        51.30%             39.53%
Buncombe                36,526          6,124        16,199        14,203        16.77%        44.35%             38.88%
Currituck                2,000            136         1,094           770         6.80%        54.70%             38.50%
Johnston                14,769          1,276         7,821         5,672         8.64%        52.96%             38.40%
Dare                     4,311            437         2,221         1,653        10.14%        51.52%             38.34%
Iredell                 15,223          2,209         7,226         5,788        14.51%        47.47%             38.02%
Harnett                 11,021          1,547         5,348         4,126        14.04%        48.53%             37.44%
North Carolina       1,113,548        177,977       519,450       416,121        15.98%        46.65%             37.37%
Cabarrus                16,364          1,721         8,585         6,058        10.52%        52.46%             37.02%


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                                                 Exhibit 5
                              Householder    Householder Householder Householder       Householder      Householder
               Householder
County                        Living Alone   Living Alone Living Alone Living Alone    Living Alone     Living Alone
               Living Alone
                               (15 to 34)     (35 to 64)  (65 and over) (15 to 34) %   (35 to 64) %   (65 and over) %
Forsyth              47,136          7,853         22,260       17,023        16.66%        47.23%             36.11%
Pender                6,625            746          3,509        2,370        11.26%        52.97%             35.77%
Guilford             61,548         11,861         28,578       21,109        19.27%        46.43%             34.30%
Watauga               5,782          1,628          2,172        1,982        28.16%        37.56%             34.28%
New Hanover          30,975          6,316         14,141       10,518        20.39%        45.65%             33.96%
Orange               14,921          3,693          6,466        4,762        24.75%        43.33%             31.91%
Onslow               14,755          4,262          6,186        4,307        28.89%        41.92%             29.19%
Pitt                 20,427          5,521          8,993        5,913        27.03%        44.03%             28.95%
Cumberland           40,405         10,610         18,651       11,144        26.26%        46.16%             27.58%
Wake                100,691         21,474         51,611       27,606        21.33%        51.26%             27.42%
Hoke                  4,324            721          2,463        1,140        16.67%        56.96%             26.36%
Durham               40,853         11,511         19,254       10,088        28.18%        47.13%             24.69%
Mecklenburg         123,141         31,522         61,407       30,212        25.60%        49.87%             24.53%




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